Case 16-00103-JMC-7A Doci1 Filed 01/08/16 EOD 01/08/16 15:27:51 Pgi1of10
Fill in this information to identify your case:

  

United States Bankruptcy Court for the:

 

SOUTHERN DISTRICT OF INDANA eS

Case number (if known): Chapter you are filing under: os *
Chapter 7 a | °
Chapter 11 Toss CO :

Chapter 12
Chapter 13

[1] Check if this is af
amended filing ~~
ended fling

ee

 

te

~ oo

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/15

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car,” the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying

correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Identify Yourself

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your Eva
government-issued picture Enst Name First Name
identification (for example,
your driver's license or Marie
passport). Middie Name Middle Name
Watts
Bring your picture Last Name Last Name
identification to your meeting
with the trustee. Suffix (Sr, Jr, i) Suffix (Sr, Jr., 1, IH)
2. All other names you
have used in the last 8 First Name First Name
years
Middle Name Middle Name
Include your married or
maiden names. Cast Name [ast Name
3. Only the last 4 digits of
your Social Security xxx — xx -_ 3 0 XXX — XX
number or federal OR OR
Individual Taxpayer
Identification number 9xx — xx ~ 9XX — XX
(ITIN)
4. Any business names | have not used any business names or EINs. [[]_ | have not used any business names or EINs.

and Employer

Identification Numbers
(EIN) you have used in Business name
the last 8 years

 

Business name

 

Business name Business name
Include trade names and

doing business as names

 

Business name Business name

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Debtor 1 Casa 16-00103-idifie 7A DOC Watte-iled 01/08/16

5.

6.

First Name

Where you live

Why you are choosing

this district to file for
bankruptcy

Middie Name Last Name

About Debtor 1:

EIN

EIN

8582 Haque Road
Number Street

eho dmbs DG AGwho:27:51 Pg 2 of 10

About Debtor 2 (Spouse Only in a Joint Case):

EIN

EIN

lf Debtor 2 lives at a different address:

Number Street

 

 

 

 

Indianapolis IN 46256

City State ZIP Code City State ZIP Code
Marion

County County

If your mailing address is different from
the one above, fill it in here. Note that the
court will send any notices to you at this
mailing address.

If Debtor 2's mailing address is different
from yours, fill it in here. Note that the court
will send any notices to you at this mailing
address.

 

Number Street

Number Street

 

 

P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
Check one: Check one:

Over the jast 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Official Form 101

Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Chapter 7
Chapter 11
Chapter 12

OoOoOosS

Chapter 13

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Debtor 1 CEGG 16-00103-4M.-7A DOC Wate ied 01/08/16 EL uAbdORMGw)9:27:51 Pq 3 of 10

First Name Middle Name Last Name

8. How you will pay the fee | will pay the entire fee when | file my petition. Please check with the clerk's office in your local
court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
pay with cash, cashier's check, or money order. if your attorney is submitting your payment on your
behalf, your attorney may pay with a credit card or check with a pre-printed address.

[(]_ | need to pay the fee in installments. If you choose this option, sign and attach the Application for
Individuals to Pay Your Filing Fee in instaliments (Official Form 103A).

(1 =! request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
than 150% of the official poverty line that applies to your family size and you are unable to pay the
fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

9. Have you filed for No
bankruptcy within the
last 8 years? Ci Yes.
District When Case number
MM / DD /YYYY
District When Case number
MM / DD / YYYY
District When Case number
MM / DD / YYYY
40. Are any bankruptcy No
cases pending or being
filed by a spouse who is Cl Yes.
not filing this case with Debtor Relationship to you
you, or by a business rs
partner, or by an District When Case number,
affiliate? MM/DD/YYYY — if known
Debtor Relationship to you
District When Case number,

 

MM/DD/YYYY — if known

41. Do you rent your No. Goto line 12.
residence? [] Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

oO No. Go to line 12.
Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 107A)
and file it with this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1 C4&@ 16-00103-dMdMe7A Doc WattFiled 01/08/16 ESAAGbAOBKLEnd5:27:51 Pag 4 of 10

First Name Middie Name Last Name

Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor No. Go to Part 4.
of any full- or part-time [1 Yes. Name and location of business
business?

 

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as Number — Street
a corporation, partnership, or

LLC.

Name of business, if any

 

 

 

If you have more than one
sole proprietorship, use a

separate sheet and attach it Check the appropriate box to describe your business:
to this petition.

City State ZIP Code

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 104(6))

None of the above

OOoo0oo0

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. If you indicate that you are a smail business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
are youa small business or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?

No. 1am not filing under Chapter 11.
Ci No. 1am filing under Chapter 11, but | am NOT a small business debtor according to the definition in

For a definition of small the Bankruptcy Code.

business debtor, see
11 U.S.C. § 101(51D). 1 Yes. [am filing under Chapter 11 and! ama small business debtor according to the definition in the
Bankruptcy Code.

Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

44. Do you own or have any No
property that poses or is ( Yes. What is the hazard?

alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

if immediate attention is needed, why is it needed?

For example, do you own
perishable goods, or
livestock that must be fed, or
a building that needs urgent
repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Debtor 1 Caev@_16-00103-Addrie-7A  DOoCWatts-iled 01/08/16 ELtaunbdOBkhbwh9:27:51 Pg 5 of 10

First Name Middie Name Last Name

Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

whether you have
received briefing
about credit
counseling.

The law requires that
you receive a briefing
about credit counseling
before you file for
bankruptcy. You must
truthfully check one of
the following choices.
If you cannot do so,
you are not eligible to
file.

If you file anyway, the
court can dismiss your
case, you will lose
whatever filing fee you
paid, and your
creditors can begin
collection activities
again.

Official Form 101

You must check one:

wv! received a briefing from an approved credit
counseling agency within the 180 days before
| filed this bankruptcy petition, and | received
a certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LJ! received a briefing from an approved credit
counseling agency within the 180 days before
| filed this bankruptcy petition, but | do not
have a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

[J]! certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

lam not required to receive a briefing about
credit counseling because of:

CO Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

( Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CG Active duty. |. am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

You must check one:

Cc] | received a briefing from an approved credit
counseling agency within the 180 days before
1 filed this bankruptcy petition, and | received
a certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Oo! received a briefing from an approved credit
counseling agency within the 180 days before
\ filed this bankruptcy petition, but | do not
have a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate
and payment pian, if any.

[(]! certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ! am not required to receive a briefing about
credit counseling because of:

(1 Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

oO Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5
Debtor 1 Cava 16-00103-Mdfie 7A Doc Warte-iled 01/08/16 lehadvdeb&D@AhGwdj0:27:51 Pg 6 of 10

First Name Middle Name Last Name

Answer These Questions for Reporting Purposes

16. What kind of debts do you 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
have? as “incurred by an individual primarily for a personal, family, or household purpose."
C1 No. Go to line 16b.
Mv Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
O No. Go to line 16c.
oO Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer or business debts.

 

17. Are you filing under

Chapter 7? [] No. am not filing under Chapter 7. Go to line 18.

Do you estimate that after Yes. lam filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and

administrative expenses fy] No

are paid that funds will be

available for distribution O Yes

to unsecured creditors?

 

18. How many creditors do Mw 1-49 CJ 1,000-5,000 [1] 25,001-50,000
you estimate that you (] 50-99 (J 5,001-10,000 [[] 50,001-100,000
owe? [] 100-199 [J] 10,001-25,000 [] More than 100,000
(I 200-999
19. How much do you PJ $0-$50,000 [J $1,000,001-$10 million (C1 $500,000,001-$1 billion
estimate your assets to [] $50,001-$100,000 [+ $10,000,001-$50 million [J $1,000,000,001-$10 billion
be worth? | $100,001-$500,000 oO $50,000,001-$100 million oO $10,000,000,001-$50 billion
[1] $500,001-$1 million oO $100,000,001-$500 million [[] More than $50 billion
20. How much do you f¥{ $0-$50,000 oO $1,000,001-$10 million oO $500,000,001-$1 billion
estimate your liabilities to [] $50,001-$100,000 [1] $10,000,001-$50 million [J] $1,000,000,001-$10 billion
be? [J 3$100,001-$500,000 [1] $50,000,001-$100 million (1 + $10,000,000,001-$50 billion
[] $500,001-$1 million [I] $100,000,001-$506 million =] More than $50 billion
For you | have examined this petition, and | declare under penalty of perjury that the information provided is true

and correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11, 12,
or 13 of title 11, United States Code. | understand the relief available under each chapter, and | choose to

proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is an attorney to help me fill
out this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,

   
     

 
 
 
  

 

7" X
gn . Signature of Debtor 2
Executed on / — & ~f @ Executed on
MM/ DD / YYYY MM /DD/YYYY

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Debtor 1 Case number (i known),

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list afl your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C2 No

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CI No

Yes
Did you pay or agree to " someone who is not an attorney to help you fi fi i out your bankruptcy forms?

Q
Oo vee Name of Person aS Cg G ven

Attach Bankruptcy Petition Preparer’! Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
_have read and understood this notice, and | am aware that filing a bankruptcy case without an
Carers may cause me to lose my rights or property if | do not properly handle the case.

“a f Clg eke

hature-df Debtor 1 ‘ Signature of Debtor 2

. Date j)-S-le . Date ‘MM? DD TYYYY
Here Ee GCE |

   

 

 

 

 

 

 

Contact phone Contact phone
Cell phone Cell phone
Email address Email address

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8

 

 
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B2800 (Form 2800) (12/15)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDANA
INDIANAPOLIS DIVISION

In re Eva Marie Watts Case No.

Ch
Debtor apter 7

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110(h)(2).]

1, Under 11 U.S.C. § 110(h), | declare under penalty of perjury that | am not an attorney or employee of an attorney, that |
prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be
paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is
as follows:

For document preparation services, | have agreed to accept.................. $355.00
Prior to the filing of this statement | have received. ..........0... eee $355.00
Balance Due... ccc cccccceccesssssecssscenssesesesssscseassecsnstceusernussentnnsesnreseeena $0.00

2. | have prepared or caused to be prepared the following documents (itemize):
and provided the following services (itemize):

3. The source of the compensation paid to me was:
Debtor 0 Other (specify)

4. The source of compensation to be paid to me is:

Debtor (J Other (specify)

5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition
filed by the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
case except as listed below:

 

 

NAME SOCIAL SECURITY NUMBER
. , f 7
Xx de; ap XXX-XX-XXXX X ZO
Signature | ee \P Social Security number of bankruptcy DAte
petition preparer*
Linda Foltz, Owner 7102 Pendleton Pike, Suite 2
Printed name and title, if any, of indianapolis,
Bankruptcy Petition Preparer Indiana

 

Address
* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal, responsible
person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure
may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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Fill in this information to identify the case:

         

Debtor 1 Eva Marie Watts
First Name Middle Name Last Name

       

      
   
   
 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

   
    
  

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDANA

  

Case number Chapter 7
(if known)

 

 
   
 

 

Official Form 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature 12/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that
are filed in the case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 3. A
bankruptcy petition preparer who does not comply with the provisions of title 11 of the United States Code and the Federal
Rules of Bankruptcy Procedure may be fined, imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

REE Notice to Debtor

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any
documents for filing or accept any compensation. A signed copy of this form must be filed with any document prepared.
Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the foliowing:
™ whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);
m@ whether filing a case under chapter 7, 11, 12, or 13 is appropriate;
@ whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;
m whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;
@ what tax consequences may arise because a case is filed under the Bankruptcy Code;
m@ whether any tax claims may be discharged;
@ whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;
m@ howto characterize the nature of your interests in property or your debts; or

™ what procedures and rights apply in a bankruptcy case.

The bankruptcy petition preparer Linda Foltz has notified me of
Name
fore preparing any document for filing or accepting any fee.

Date / —Be/ &

igGnature of Debtor 1 acknowledging receipt of this notice MM /DD/YYYY

  

X Date
Signature of Debtor 2 acknowledging receipt of this notice MM / DD / YYYY

Official Form 119 Bankruptcy Petition Preparer's Notice, Declaration, and Signature page 1
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Debtor 1 Eva Marie Watts Case number (if known)
First Name Middle Name Last Name

EES Declaration and Signature of the Bankruptcy Petition Preparer

Under penalty of perjury, | declare that:

 

m™ [ama bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer:

™ | or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and

@ If rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
preparers may charge, | or my firm notified the debtor of the maximum amount before preparing any document for filing or before
accepting any fee from the debtor.

Linda Foltz Owner Bankruptcy Preparation Services
Printed name Title, if any Firm name, if it applies

7102 Pendleton Pike, Suite 2

Number Street

Indianapolis,

317 547 5554
City State ZIP Code Contact phone

| or my firm prepared the documents checked below and the completed declaration is made a part of each document that |
check:

(Check all that apply.)

Voluntary Petition (Form 101) [J Schedule | (Form 1061) (J Chapter 11 Statement of Your Current Monthly

Income (Form 122B)
Statement About Your Social Security (0 Schedule J (Form 106)

Numbers (Form 121) , Individual D ' Chapter 13 Statement of Your Current Monthly
Declaration About an Individual Debtor's Income and Caiculation of Commitment Period

[0 Summary of Your Assets and Liabilities Schedules (Form 106Dec) (Form 122C-1)

and Certain Statistical Information ; ; .

(Form 106Sum) [1] Statement of Financial Affairs (Form 107) (J Chapter 13 Caiculation of Your Disposable
[1] Schedule A/B (Form 106A/B) [J Statement of Intention for Individuals Filing Income (Form 122C-2)

Under Chapter 7 (Form 108) a - ;
Oo Schedule C (Form 106C) LJ Application to Pay Filing Fee in Installments
D Chapter 7 Statement of Your Current (Form 103A)

[] Schedule D (Form 106D) Monthly Income (Form 122A-1)

Application to Have Chapter 7 Filing Fee

[1] Schedule E/F (Form 106E/F) (I) Statement of Exemption from Presumption Waived (Form 103B)
of Abuse Under § 707(b)(2
[1] Schedule G (Form 106G) (Form 122A 1Supp) me) C7 Alist of names and addresses of ail creditors

oO Schedule H (Form 106H) (creditor or mailing matrix)

Chapter 7 Means Test Caiculation

(Form 122A-2) [ Other

 

Bankruptcy petition preparers must sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the
documents hich this declara¥on applies, the signature and Social Security number of each preparer must be provided. 11 U.S.C. §.110.

  
  
 

 

    
 

 

 

x XXX-XX-XXXX oate_| Mb
Signature of bankruptcy petition pr: or officer, principal, Social Security number of person who signed /DD/ YYYY
responsible person, or partner
Linda Foltz
Printed name

X —u - _L- LstCéO atte
Signature of bankruptcy petition preparer or officer, principal, Social Security number of person who signed MM/DD/YYYY

responsible person, or partner

 

Printed name

Official Form 119 Bankruptcy Petition Preparer's Notice, Declaration, and Signature page 2
